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AQ 93 (Rev. 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

In the Matter of the Search of
INFORMATION ASSOCIATED WITH
LOVEJOYBABY@ICLOUD.COM,
MORGANCALDWELL1517@GMAIL.COM, and
PAULDEMARCOS10@PROTONMAIL.COM, STORED AT PREMISES
CONTROLLED BY APPLE INC.

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SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Northern District of California
(identify the person or describe the property to be searched and give its location):

See Attachment “A”

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
See Attachment “B”

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before
Lo/i3/z

(not to exceed 14 days)

M inthe daytime 6:00a.m.to10p.m. © at any time in the day or night as | find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

(name)

O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18
U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person
who, or whose property, will be searched or seized (check the appropriate box):

0) for days (not to exceed 30).
r x date of

0 until, the facts justifying, the late
U Judge's §gnathre

Date and time issued: 4l3olu, 3:S4 on

City and state: Tulsa, Oklahoma Jodi F; Jayne, U.S. Magistrate Judge
_” Printed name and title

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Return

5
Case No.: Date and time warrant executed: Copy of warrant and inventory lefi-withs

4 -Mj - Jory 2h Bo Sépr att @ 1647 Appts. Inc. Ut. omit. __|
Inventory made in the presence of :

—

Inventory of the property taken and name of any person(s) seized:

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Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

Date: £5 Cer Zor. ARI)

s Executing officer ’s signature
SA Brien S. Dsan

Printed name and title

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ATTA A- E B D
This warrant applies to information associated with
LOVEJOYBABY@ICLOUD.COM,
MORGANCALDWELL1517@GMAIL.COM, and
PAULDEMARCO510@PROTONMAIL.COM (Target Accounts 1-3) stored at
premises owned, maintained, controlled, or operated by Apple Inc., a company

headquartered at Apple Inc., One Apple Park Way, Cupertino, California, 95014.
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iL B- BES
L Information to be disciowed by Apple

To the extent that the information described in Attachment A is within the
possession, custody, or control of Apple, regardless of whether such information is
located within or outside of the United States, including any messages, records, files,
logs, or information that have been deleted but are still available to Apple, or have
been preserved pursuant to a request made under 18 U.S.C. § 2703), Apple is
required to disclose the following information to the government, in unencrypted
form whenever available, for each account or identifier listed in Attachment A:

a. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers, email addresses
(including primary, alternate, rescue, and notification email addresses, and
verification information for each email address), the date on which the account was
created, the length of service, the IP address used to register the account, account
status, associated devices, methods of connecting, and means and source of payment
(including any credit or bank account numbers);

b. All records or other information regarding the devices associated with,
or used in connection with, the account (including all current and past trusted or
authorized iOS devices and computers, and any devices used to access Apple
services), including serial numbers, Unique Device Identifiers (“UDID”),
Advertising Identifiers (“IDFA”), Global Unique Identifiers (“GUID”), Media

Access Control (“MAC”) addresses, Integrated Circuit Card ID numbers (“ICCID”),
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Electronic Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers (“MIN”),
Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital
Network Numbers (“MSISDN”), International Mobile Subscriber Identities
(“IMSI”), and International Mobile Station Equipment Identities (“IMEI”);

c. . Thecontents of all emails associated with the account from August of
2019 through present, including stored or preserved copies of emails sent to and from
the account (including all draft emails and deleted emails), the source and
destination addresses associated with each email, the date and time at which each
email was sent, the size and length of each email, and the true and accurate header
information including the actual IP addresses of the sender and the recipient of the
emails, and all attachments;

d. The contents of all instant messages associated with the account from
August of 2019 through present, including stored or preserved copies of instant
messages (including iMessages, SMS messages, and MMS messages) sent to and
from the account (including all draft and deleted messages), the source and
destination account or phone number associated with each instant message, the date
and time at which each instant message was sent, the size and length of each instant
message, the actual IP addresses of the sender and the recipient of each instant
message, and the media, if any, attached to each instant message;

é. The contents of all files and other records stored on iCloud account

from August of 2019 through present, including all iOS device backups, all Apple
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and third-party app data, all files and other records related to iCloud Mail, iCloud
Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork
(including Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and
iCloud Keychain, and all address books, contact and buddy lists, notes, reminders,
calendar entries, images, videos, voicemails, device settings, and bookmarks;

f. All activity, connection, and transactional logs for the account (with
associated IP addresses including source port numbers) account from August of 2019
through present, including FaceTime call invitation logs, messaging and query logs
(including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes
Store and App Store logs (including purchases, downloads, and updates of Apple
and third-party apps), My Apple ID and iForgot logs, sign-on logs for all Apple
services, Game Center logs, Find My iPhone and Find My Friends logs, logs
associated with web-based access of Apple services (including all associated
identifiers), and logs associated with iOS device purchase, activation, and upgrades;

g. All records and information regarding locations account from August of
2019 through present where the account or devices associated with the account were
accessed, including all data stored in connection with Location Services, Find My
iPhone, Find My Friends, and Apple Maps;

h. All records pertaining to the types of service used;

i; All records pertaining to communications between Apple account from
August of 2019 through present and any person regarding the account, including

contacts with support services and records of actions taken; and
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i All files, keys, or other information necessary to decrypt any data
produced in an encrypted form, when available to Apple (including, but not limited
to, the keybag.txt and fileinfolist.txt files).

Apple is hereby ordered to disclose the above information to the government

within 14 days of issuance of this warrant.
Il. Information to be seized by the government

All information described above in Section I that constitutes as fruits, evidence
and/or instrumentalities of violations of 18 U.S.C. § 2422 (Coercion and
Enticement), 18 U.S.C. §§ 2251(a) (Sexual Exploitation of Children), 18 U.S.C. §
2252(a)(2)(A) and (B) (Receipt of Child Pornography), and 18 U.S.C. §§
2252(a)(4)(B) and (b)(2) (Possession of Child Pornography) including, for each
account or identifier listed on Attachment A, information pertaining to the following
matters:

a. Evidence indicating other accounts used by the owner of the Apple ID

b. | The identity of the person(s) who created or used the Apple ID,

including records that help reveal the whereabouts of such person(s);

c. Evidence indicating how and when the account was accessed or used, to

determine the chronological and geographic context of account access,

use and events relating to the crime under investigation and the account

subscriber;
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d. | Any records pertaining to the means and source of payment for services
(including any credit card or bank account number or digital money
transfer account information);

e. Evidence indicating the subscriber’s state of mind as it relates to the
crime under investigation; and

f. Evidence that may identify any co-conspirators or aiders and abettors,

including records that help reveal their whereabouts.

This warrant authorizes a review of electronically stored information,
communications, other records and information disclosed pursuant to this warrant in
order to locate evidence, fruits, and instrumentalities described in this warrant. The
review of this electronic data may be conducted by any government personnel
assisting in the investigation, who may include, in addition to law enforcement
officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of
the disclosed electronic data to the custody and control of attorneys for the

government and their support staff for their independent review.
